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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

 NICHIA CORPORATION,                               )
                                                   )
                        Plaintiff,                 )
                                                   )   Case No. 6:19-cv-1333-RBD-EJK
 v.                                                )
                                                   )
 LIGHTING SCIENCE GROUP CORP.,                     )
                                                   )
                    Defendant.                     )
                                                   )

                       JOINT CLAIM CONSTRUCTION STATEMENT

        Pursuant to the Second Amended Case Management and Scheduling Order (Dkt. 107),

 Plaintiff Nichia Corporation (“Nichia”) and Defendant Lighting Science Group Corp. (“LSG”)

 submit this Joint Claim Construction Statement.

        Lead counsel for the parties have conferred regarding the claim terms in dispute, and

 narrowed the disputes between the parties. Appendix A is a chart that includes each party’s

 construction of each disputed claim term and the relevance of the construction of each term for

 summary judgment. The number of claim terms in dispute is no more than ten (10). Appendix B

 is a chart that includes the intrinsic evidence, the extrinsic evidence, and a summary of expert

 testimony, if any. Appendix C is a chart with the parties’ agreed constructions. The parties will

 submit expert testimony with the claim construction briefing.

        The parties will notify the Court promptly regarding any additional agreed constructions

 reached prior to the claim construction hearing scheduled for August 19, 2020.
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 Date: May 11, 2020                                    Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been

 furnished, electronically, through the CM/ECF system, to all counsel of record on this 11th day

 of May, 2020.




                                            /s/ Daniel C. Johnson_____________
                                            Daniel C. Johnson




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